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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TAMARA JEAN FARRELL,                          )
an individual,                                )
                                              )    CASE NO.: 1:21-cv-00922-SCJ
             Plaintiff,                       )
vs.                                           )
                                              )
USPG PORTFOLIO FIVE, LLC,                     )
a Georgia Limited Liability Company,          )
and                                           )
SOUTHLAKE EQUITIES, LLC,                      )
a Georgia Limited Liability Company           )
                                              )
          Defendants.                         )
___________________________________/

            STIPULATION OF DISMISSAL WITH PREJUDICE
            AS TO DEFENDANT SOUTHLAKE EQUITIES, LLC

      Plaintiff and Defendants, pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, hereby stipulate to dismiss Defendant Southlake

Equities, LLC from this action and all claims asserted against Defendant Southlake

Equities, LLC with prejudice. Each party shall bear its respective fees and costs.

Dated: September 16, 2021

Respectfully submitted,                       Respectfully submitted,




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/s/ John A. Moore                              /s/ A. Todd Merolla .
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USPG Portfolio Five, LLC

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 16th day of September, 2021, I

electronically filed the foregoing with the Clerk of Court by using CM/ECF system

which will send notice of electronic filing to all counsel of record.

                                                /s/ John A. Moore
                                                John A. Moore, Esq.

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